Case 1:14-cv-02998-CMA-NYW Document 48 Filed 11/23/15 USDC Colorado Page 1 of 2

                              IN UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No.: 1:14-cv-02998-CMA-NYW

  Rijael Kleiman,

          Plaintiff/Movant,

  Comcast Holdings Corporation,

          Defendant.


                                 STIPULATION OF DISMISSAL



         WHEREAS, the parties to the above-entitled action have resolved the issues alleged in

  the complaint in this action, and have negotiated in good faith for that purpose; and

         WHEREAS, none of the parties to the above-captioned action is an infant or incompetent

  person; and

         WHEREAS, the parties in the above-captioned action wish to discontinue the litigation;

         IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

  respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

  is hereby dismissed in its entirety with prejudice and without costs to any party. The Court will

  retain jurisdiction to enforce the terms of the settlement agreement.

   Rijael Kleiman                                Comcast Holdings Corporation

   ___/s/ Jenny DeFrancisco__________            __/s/ Brynne S. Madway______________

   Jenny DeFrancisco, Esq.                       Brynne S. Madway, Esq.
   Lemberg Law, LLC                              Drinker Biddle & Reath LLP
   1100 Summer Street, Third Floor               One Logan Square, Suite 2000
   Stamford, CT 06905                            Philadelphia, PA 19103-6996
   Telephone: (203) 653-2250                     Telephone: (215) 988-2928
   jdefrancisco@lemberglaw.com                   brynne.madway@dbr.com
   Attorneys for Plaintiff                       Attorney for Defendant

  _____________________________
  SO ORDERED
Case 1:14-cv-02998-CMA-NYW Document 48 Filed 11/23/15 USDC Colorado Page 2 of 2




                                   CERTIFICATE OF SERVICE

          I hereby certify that on November 23, 2015, a true and correct copy of the foregoing
  Stipulation of Dismissal was served electronically by the U.S. District Court for the District of
  Colorado Electronic Document Filing System (ECF) and that the document is available on the
  ECF system.
                                               By_/s/ Jenny DeFrancisco_________
                                                    Jenny DeFrancisco, Esq.




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